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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

UNITED STATES EX REL. FRANK M.  §
REMBERT and MICHAEL PARADISE,   §
                                §
             Relators,          §
                                §
v.                              §                            Civil Action No. _
                                §
BOZEMAN HEALTH DEACONESS        §
HOSPITAL d/b/a BOZEMAN          §
DEACONESS HEALTH SERVICES d/b/a §
BOZEMAN HEALTH, and DEACONESS- §
INTERCITY IMAGING, LLC d/b/a    §
ADVANCED MEDICAL IMAGING,       §
                                §
             Defendants.        §


   MOTION OF BOZEMAN HEALTH DEACONESS HOSPITAL TO QUASH
            SUBPOENA AND FOR PROTECTIVE ORDER

         Relators Frank M. Rembert and Michael R. Paradise, Plaintiffs in United States ex. rel.

Rembert v. Bozeman Health Deaconess Hospital, et al., case number CV-15-80-BU-SEH in the

United States District Court for the District of Montana (the “Underlying Matter”), served a

document subpoena and a subpoena for a Rule 30(b)(6) deposition on Value Management

Group, LLC (“VMG”). Both subpoenas command compliance in Dallas.

         Bozeman Health Deaconess Hospital, (“BDH”) a defendant in the Underlying

Matter, files this Motion to Quash and for a Protective Order under Federal Rules of Civil

Procedure 26(A) and 45(d) because both subpoenas seek information that is protected by

BDH’s attorney-client privilege and the attorney work product protection.

                                      BACKGROUND

         In January 2014, the law firm Drinker, Biddle, and Reath LLP (“Drinker Biddle”)

engaged VMG to assist it with providing legal advice to Drinker Biddle’s client BDH. See

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Appendix A and A-1 (Sullivan Decl. ¶2, Ex.1); Appendix B (Lewis Decl. ¶¶2-3). The terms

of the engagement specified that VMG’s work product was to be “Attorney Work Product”

and would be provided to Drinker Biddle. See Appendix A-1 at 1 & 5. Pursuant to that

engagement, VMG communicated with employees of BDH and Deaconess-Intercity

Imaging, LLC (an entity majority-owned by BDH) for the purpose of gathering information

necessary for VMG to assist Drinker Biddle. Lewis Decl. ¶3.

         On or around October 2, 2017, Relators served a subpoena duces tecum on VMG,

which issued from the United States District Court for the District of Montana (“Document

Subpoena”). See Appendix C. Although the Document Subpoena does not, on its face, seek

documents related to the 2014 Engagement, Relators subsequently took the position that

such documents are responsive and should be produced.

         Relators subsequently served a deposition subpoena on VMG, also issued from the

District of Montana, that commands a corporate representative of VMG to appear for

deposition in Dallas on March 2, 2018 (“Deposition Subpoena”). See Appendix D. Exhibit

A to that subpoena, the list of topics for deposition, includes numerous topics related to the

2014 Engagement. For example, the Deposition Subpoena demands testimony regarding:

(1) “Any and all communications between representatives or agents of VMG and any

representatives or agents [of] BDH related to any analysis conducted by VMG in 2014

related to AMI” (id., Exhibit A §1(d)); and (2) “The substance of the reports prepared by

VMG related to AMI, including, but not limited to, any draft or final reports prepared in . . .

2014” (id., Exhibit A §4).

                                       ARGUMENT

         Because documents and testimony regarding the 2014 Engagement are protected by

BDH’s attorney client privilege and the work product doctrine, they should be shielded from

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the Relators’ subpoenas. By rule, a court must quash or modify a subpoena that “requires

disclosure of a privileged or protected matter, if no exception or waiver applies.” Fed. R.

Civ. P. 45(d)(3)(A). Here, the Deposition Subpoena specifically seeks testimony about the

2014 Engagement, and Relators have taken the position that the Document Subpoena

requires production of documents related to that engagement.

         The 2014 Engagement of VMG by Drinker Biddle was by counsel for the purposes

of assisting counsel with providing legal advice to BDH, and it is therefore subject to BDH’s

privilege, a privilege that has not been waived. See Sullivan Dec. ¶2; Lewis Dec. ¶3. As a

result, testimony and documents about the 2014 Engagement, including correspondence

among VMG and employees of BDH or Deaconess-Intercity Imaging, LLC for the purpose

of gathering information necessary for that engagement, are fully protected by the attorney

client privilege and constitute attorney work product. See United States v. Pipkins, 528 F.2d

559, 562 (5th Cir. 1976) (“In appropriate circumstances the privilege may bar disclosures

made by a client to non-lawyers who . . . had been employed as agents of an attorney.”)

(citing United States v. Kovel, 296 F.2d 918, 921 (2d Cir. 1961)); United States v. Richey, 632 F.3d

559, 566 (9th Cir. 2011) (“The attorney-client privilege may extend to communications with

third parties who have been engaged to assist the attorney in providing legal advice.”); see also

Texas R. Evid. 503(b)(1)(B) (privilege extends to communications “between the client’s

lawyer and the lawyer’s representative”).

                                        CONCLUSION

         For the foregoing reasons, BDH respectfully requests that the Document Subpoena

and Deposition Subpoena be quashed or modified to exclude materials and testimony

related to the 2014 Engagement, and a protective order entered to that effect.



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Dated: January 25, 2018                Respectfully submitted,



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                          CERTIFICATE OF CONFERENCE

         Pursuant to Local Rule 7.1(a), on January 24, 2018, counsel for Movant Bozeman

Health Deaconess Hospital conferred with Benjamin J. Alke, counsel for Relators, regarding

the merits of the foregoing motion. Counsel for Relators indicated that he is opposed to the

relief sought herein.


                                                     /s/ Kelly D. Hine
                                                     Kelly D. Hine




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